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This document has been electronically entered in the records of the United
States Bankruptcy Court for the Southern District of Ohio.


IT IS SO ORDERED.



Dated: May 4, 2023




                 UNITED STATES BANKRUPTCY COURT
                    SOUTHERN DISTRICT OF OHIO
                         WESTERN DIVISION

 In re:                               :     Case No. 1:23-BK-10467
                                      :
    JILL M. KRUTKA,                   :     Chapter 7
                                      :
                          Debtor.     :     Judge Buchanan


                               :            Adversary 1:23-ap-01011
 JILL M. KRUTKA,               :
                               :
                    Plaintiff, :
                               :
 v.                            :
                               :
                               :
 UNITED STATES DEPARTMENT :
 OF EDUCATION,                 :
                               :
                   Defendant. :
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               AGREED ORDER STAYING PRETRIAL DEADLINES


       On February 17, 2023, Plaintiff Jill M. Krutka filed a complaint seeking

discharge of her federal student loan debt (Doc. #1). Plaintiff and the United States

Department of Education, the Defendant, seek to suspend all pretrial deadlines for

ninety days, during which time the Plaintiff will prepare an Attestation regarding

the undue hardship allegedly imposed by Plaintiff’s student loan debt, and thereafter

the parties will confer as to Plaintiff’s request. Plaintiff will complete the Attestation

and submit it for review by the United States no later than Friday, May 19, 2023.

       At the end of the ninety-day suspension of deadlines, the parties shall file

either: 1) a status report of their efforts to confer, or 2) stipulations of fact for review

by the Court, so that the Court may consider whether to issue an Order discharging

all or part of the student loan debt based upon undue hardship.

       IT IS SO ORDERED.




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AGREED:



KENNETH L. PARKER
United States Attorney

s/ Jade K. Smarda, Esq.
JADE K. SMARDA (0085460)
Assistant United States Attorney
Attorney for the Defendant
200 West Second Street, Suite 600
Dayton, Ohio 45402
Office: (937) 463-4638
Fax: (937) 225-2564
E-mail: jade.smarda@usdoj.gov

 s/ Paul J. Minnillo, Esq. (via email 4/27/23)
PAUL J. MINNILLO
Managing Partner | Co-Founder
Minnillo Law Group Co., LPA
2712 Observatory Avenue
Cincinnati, Ohio 45208
Office: (513) 723-1600
Fax: (513) 297-5928
Email: pjm@mlg-lpa.com




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